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{06/20r7)




                                         UNrrrn SrlrBs DrsrRrcr Counr
                                            SOUTHERN DISTRICT OF WEST VIRCINIA
                                                   AT BECKLEY


Donald L. Blankenship




                                                                            CASE NUMBER 5:14-CR-244;                          5: I 8-CV-591


United States of America




This torm aonlier to the           'e-entitled aclion onh'.

Sel.ct.trd conplete the rpproprirte scctiotr ofthis form to upd.te
            (l)     your name andor fiIm information;
            (2)     ro add your name as counsel ofrecord;
            (3)     lo change representation \iithin your firmi or
            (4)     lo remove your name from lhe coun's service list.

Wlthdrrw.l rnd,/or T€rmiprtiotr of Represent tton should         be   mrd. in.ccord.nce with:
L R Civ P   83.4      Withdrawal and/or Termination ofRepresentation
            An atlomeymay \rithdraw from a case in whi€h he or she has appeared only as follows:
            (a) By Notice of withdnwal. A party's attomey may wilhdraw from a case by filing and serving a notice of wilhdrawal, efleclive
                    upon filing,   ii
                    (|)    multiple attomeys hale appeared on behalf of the pariyi and
                    (2)    at least one of lhose attomeys will slj ll be the pany's counsel of record afier lhe attomey seeking lo withdraw does so.
            (b)     By Nolice of wilhdraual and Subslitulion. A pany's atiomey may withdraw from a case by filing and serving a notice oI
                    wilhdrawal ard substitution, efTective upon filing. ifthe nolice includes:
                    (I)    the wi thdrawal aDd substi(rrjon wi ll not delay lhe rial or other progress oi the cas€; and
                    (2) the notice is filed and sened ar leasl 90 dars b€fore trial_
            (c)     ByMotion. An attomey who seeks lo withdraw olher rhan under LR 81.4(a) or(b) must move ro *.irhdraw and must show good
                    cause. The attomey must noti fy his or her client o f rhe motion.




                           NOTICE OF CHANGE OF ATTORNEY INFORMATION


               I,                       Jessica H.    Kim (OH #008783 I )
                                                                                                     hereby provide this Notice              of
                                            Nane of Auome_y and Rar Number

Change of Attornqt Information to the Court and request the Clerk's Office to:




                                                                Page      I of3
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     Please add my name as counsel of record in the                                    above-entitle              as follows:
     My firrn/govemment agency,                 United States of America               has made an appearancc in
     the above-entitled action. I request to be added as additional counsel ofrecord for the following party(ies) on
     whose behalfmy firm,/govemment agency has already made an appearance.

     Name of Party(ies) Represented:

     United States ofAmedca




     Please change         within-firm rep resentation in the above-enlitled action only as follows:
     My firm,/govemment           agency,
     by                                                        has made an appearance in the above-entitled action.     I    request
     to     be      substituted   as counsel of record for the following party(ies) on whose behalf
                                             has appeared and further request the court               to    terminate and remove
                                                         liom the court's service list for this case only
     Name of Party(ies) Represented




     Please remove me from the Court's services                                 list      e above-entitled action
     I do not wish to receive copies ofany future orders, correspondence, motiom, pleadings, notices, etc., and am
     notifying the court to remove my name ftom its service list for this case only. I will notify the Clerk ofCourt
     should this notice requircment change.

     Further, I hereby absolve other counsel of record, if any exist, or pro se parties,                fiom serving any future
     correspondence, motions, pleadings, notices, etc., upon me in this case only.

     I am to remain counsel ofrecord for the following party(ies):




    Please update my name and/or                           firm information               the above-entitled a              IT   as
    follox     s:
                    Former name:
                      New name:
          New finr/govemment
                    agency name:
          New mailing address:
           City/State/Zip Code:
     New telephone number:
              New fax number:
           New e-mail address:
                                      (pnvde onlt   {o   res6tercd C\LECFe-frler)




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  Date:     06/28/2018        s/ Jessica    ll.   Kirn
                              s/ Elecnonic SignafiEe

                                                                    oH   #0087831

                              F i nn /G o v e d n e n l,l garcy :   U.S. Aftomev's Ofiice
                              Maililg Addrcss:                      303 Marconi Boulevard, Suite 200
                              Citt/Statelzip Code:                  Columbus. OH 43215
                              Telephone nunber:                     (614\ 469-5115
                                                                    (614) 469-56s3
                              E- ail:                               Jessica.Kim@usdoj.gov


An altorney i)ho seel6 to withdrau' other than under L R Civ P 83.4(a) or (b) must file a
motion to withdrav, and show good cause. The attorney must notify his or her client of the
motion.




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